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 JS 44 (Rev. 10/20) FLSD Revised 10/14/2020                               CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except
as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                           DEFENDANTS
 SECURITY NATIONAL INSURANCE CO.                                                                            DANNY ORTIZ MORALES, an individual, and RONALD M. SHAVE, an
                                                                                                            individual

   (b) County of Residence of First Listed Plaintiff         New York County, NY                               County of Residence of First Listed Defendant Palm Beach County, Florida
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:          INLAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (If Known)
 Gary Khutorsky and Stephanie Carlton, Hinshaw & Culbertson, LLP, 201 East
 Las Olas Blvd., Suite 1450, Ft. Lauderdale, FL 33301
 gkhutorsky@hinshawlaw.com and scarlton@hinshawlaw.com

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL                                             (Place an “X” in One Box for
                                                                                               PARTIES                                                                   Plaintiff and One Box for Defendant)
                                                                                                        (For Diversity Cases Only)
    1 U.S. Government                3 Federal Question                                                                          PTF         DEF                                            PTF       DEF
          Plaintiff                      (U.S. Government Not a Party)                             Citizen of This State             1           1 Incorporated or Principal Place              4           4
                                                                                                                                                        of Business In This State
                                                                                                   Citizen of Another State
     2 U.S. Government               4 Diversity                                                                                        2          2 Incorporated and Principal Place           5           5
                                                                                                                                                        of Business In Another State
          Defendant                      (Indicate Citizenship of Parties in Item III)
                                                                                                    Citizen or Subject of a
                                                                                                      Foreign Country                   3          3 Foreign Nation                               6         6

IV. NATURE OF SUIT (Place an “X” in One Box Only)                                             Click here for: Nature of Suit Code Descriptions
          CONTRACT                                            TORTS                                       FORFEITURE/PENALTY                      BANKRUPTCY                 OTHER STATUTES
   110 Insurance                     PERSONAL INJURY              PERSONAL INJURY                          625 Drug Related Seizure           422 Appeal 28 USC 158         375 False Claims Act
   120 Marine                       310 Airplane                  365 Personal Injury -                   of Property 21 USC 881              423 Withdrawal                376 Qui Tam (31 USC
   130 Miller Act                   315 Airplane Product               Product Liability                   690 Other                          28 USC 157                           3729(a))
   140 Negotiable Instrument             Liability                367 HealthCare /                                                                                          400 State Reapportionment
   150 Recovery of                  320 Assault, Libel &          Pharmaceutical                                                                                            410 Antitrust
Overpayment                              Slander                  Personal Injury                                                              PROPERTY RIGHTS              430 Banks and Banking
       & Enforcement of             330 Federal Employers’        Product Liability                                                           820 Copyrights                450 Commerce
       Judgment                          Liability                368 Asbestos Personal                                                       830 Patent                    460 Deportation
   151 Medicare Act                 340 Marine                         Injury Product                                                         830 Patent – Abbreviated      470 Racketeer Influenced
   152 Recovery of Defaulted        345 Marine Product                  Liability                                                             New Drug Application       and
   Student Loans (Excludes               Liability              PERSONAL PROPERTY                                                             840 Trademark                  Corrupt Organizations
   Veterans)                        350 Motor Vehicle             370 Other Fraud                                  LABOR                        SOCIAL SECURITY             480 Consumer Credit
   153 Recovery of                  355 Motor Vehicle             371 Truth in Lending                    710 Fair Labor Standards            861 HIA (1395ff)              490 Cable/Sat TV
Overpayment                              Product Liability        380 Other Personal                      Act                                 862 Black Lung (923)          850
   of Veteran’s Benefits            360 Other Personal                 Property Damage                    720 Labor/Mgmt. Relations           863 DIWC/DIWW (405(g)) Securities/Commodities/
   160 Stockholders’ Suits               Injury                   385 Property Damage                     740 Railway Labor Act               864 SSID Title XVI            Exchange
   190 Other Contract               362 Personal Injury -              Product Liability                  751 Family and Medical              865 RSI (405(g))              890 Other Statutory Actions
   195 Contract Product                  Med. Malpractice                                                 Leave Act                                                         891 Agricultural Acts
Liability                                                                                                 790 Other Labor Litigation                                        893 Environmental Matters
   196 Franchise                                                                                          791 Empl. Ret. Inc.                                               895 Freedom of Information
     REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS                   Security Act                        FEDERAL TAX SUITS             Act
   210 Land Condemnation            440 Other Civil Rights                                                                                    870 Taxes (U.S. Plaintiff     896 Arbitration
                                                                 Habeas Corpus:                                                                                             899 Administrative
   220 Foreclosure                  441 Voting                      463 Alien Detainee                                                        or Defendant)
   230 Rent Lease & Ejectment       442 Employment                  510 Motions to Vacate                      IMMIGRATION                    871 IRS-Third Party 26 USC Procedure
   240 Torts to Land                443 Housing/                                                                                               7609                      Act/Review or Appeal of
                                                                 Sentence                                  462 Naturalization Application
   245 Tort Product Liability            Accommodations                                                                                                                  Agency Decision
                                                                     Other:                                465 Other Immigration
   290 All Other Real Property      445 Amer. w/Disabilities-       530 General                                Actions
                                         Employment                                                                                                                             950 Constitutionality of
                                                                    535 Death Penalty                                                                                           State Statutes
                                    446 Amer.w/Disabilities-        540 Mandamus & Other
                                         Other                      550 Civil Rights
                                    448 Education                   555 Prison Condition
V. ORIGIN (Place an “X” in One Box Only)
   1 Original       2               3 Re-filed (see VI      4              5 Transferred from                   6 Multidistrict    7 Appeal to         8 Multidistrict          9 Remanded from
Proceeding       Removed         below)                  Reinstated or        Another District              Litigation          District Judge from Litigation                Appellate Court
                 from State                              Reopened              (Specify)                    Transfer            Magistrate          Transfer
                  Court                                                                                                         Judgment
VI. RELATED/RE-   (See instructions): a) Re-filed Case Yes                               No b) Related Cases     Yes     No
FILED CASE(S)                                                                          Docket Number:
VII. CAUSE OF     Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do no cite jurisdictional statutes unless diversity):
ACTION            Complaint for declaratory action under 28 U.S.C. § Section 2201
VII. REQUESTED IN     CHECK IF THIS IS A CLASS ACTION UNDER DEMAND $                                       CHECK YES only if demanded in complaint:
COMPLAINT:            RULE 23, F.R.Cv.P.                                                                   JURY DEMAND:             Yes      No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE

DATE          4/12/24                          SIGNATURE OF ATTORNEY OF RECORD                         /s/ Gary Khutorsky
FOR OFFICE USE ONLY
RECEIPT#                             Amount                              IFP                      JUDGE                        MAG JUDGE


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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                               Authority For Civil Cover Sheet

  The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
  required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
  required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
  Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

  I.      (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,
  use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
  the official, giving both name and title.
          (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
  the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
  condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
          (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
  noting in this section “(see attachment)”.

  II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X”
  in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
  United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
  United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
  Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
  Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence,
  and box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When
  Box 4 is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity
  cases.)

  III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
  section for each principal party.

  IV.    Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the
  nature of suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.

  V.      Origin. Place an “X” in one of the seven boxes.
  Original Proceedings. (1) Cases which originate in the United States district courts.
  Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
  petition for removal is granted, check this box.
  Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
  Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
  Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
  multidistrict litigation transfers.
  Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When
  this box is checked, do not check (5) above.
  Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
  Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.

  VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
  corresponding judges name for such cases.

  VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
  statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
  Brief Description: Unauthorized reception of cable service

  VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
  Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
  Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

  Date and Attorney Signature. Date and sign the civil cover sheet




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